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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                PINE BLUFF DIVISION

 JOHNNY PARSONS,                        *
 ADC #15166,                            *
                                        *
                      Plaintiff,        *
 v.                                     *                    No. 5:19-cv-00246-JJV
                                        *
 CHRIS HORAN, Provider, Medical Doctor, *
 Tucker Infirmary, ADC, et al.          *
                                        *
                      Defendants.       *


                                         JUDGMENT

         Pursuant to the Order entered this date and the Court’s prior Orders, it is considered,

ordered, and adjudged that Plaintiff’s claims are DISMISSED, and this case is CLOSED. I certify,

pursuant to 28 U.S.C. § 1915(a)(3), that an in forma pauperis appeal would not be taken in good

faith.

         DATED this 22nd day of June 2020.


                                                    ____________________________________
                                                    JOE J. VOLPE
                                                    UNITED STATES MAGISTRATE JUDGE
